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5    Attorneys for Defendant
     DENNA R. CHAMBERS
6
7
                                         UNITED STATES DISTRICT COURT
8
                                      EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                             )   Case No. 2:16-cr-010 MCE
                                                           )
11                          Plaintiff,                     )   STIPULATION AND [PROPOSED]
                                                           )   ORDER TO MODIFY SPECIAL
12            v.                                           )   CONDITION OF RELEASE
                                                           )
13   DENNA R. CHAMBERS,                                    )   Judge: Hon. Morrison C. England, Jr.
                                                           )
14                         Defendant.                      )
                                                           )
15                                                         )
16
              IT IS HEREBY STIPULATED AND AGREED between plaintiff, United
17
     States of America, and defendant Denna R. Chambers, through their respective
18
     attorneys, that the release conditions imposed on Ms. Chambers on January 21,
19
     2016 (Dkt. 12), may be modified to add:
20
           17. You shall participate in a cognitive behavior treatment program
21
     as directed by the pretrial services officer. Such programs may include group
22   sessions led by a counselor or participation in a program administered by the
23
     Pretrial Services office.

24            Pretrial Services Officer, Taifa Gaskins, is in agreement with this joint
25   request to the modification.
26            All other conditions shall remain in force.
27
28

      Stipulation to Modify Special Condition of Release       -1-
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1    DATED: February 18, 2016                              HEATHER E. WILLIAMS
2                                                          Federal Defender
3
                                                           /s/ Matthew C. Bockmon
4                                                          MATTHEW C. BOCKMON
5                                                          Assistant Federal Defender
                                                           Attorney for DENNA R. CHAMBERS
6
7    DATED: February 18, 2016                              BENJAMIN B. WAGNER
                                                           United States Attorney
8
9                                                          /s/ Shelley D. Weger
                                                           SHELLEY D. WEGER
10                                                         Assistant U.S. Attorney
11
                                                           /s/ Jill Thomas
12
                                                           JILL THOMAS
13                                                         Assistant U.S. Attorney
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      Stipulation to Modify Special Condition of Release    -2-
       Case 2:16-cr-00010-TLN Document 23 Filed 02/18/16 Page 3 of 3


1
2                                                          ORDER

3             The following release condition is modified:

4                17. You shall participate in a cognitive behavior treatment
     program as directed by the pretrial services officer. Such programs may
5    include group sessions led by a counselor or participation in a program
6    administered by the Pretrial Services office.
7    All other conditions shall remain in force.
8    DATED: February 18, 2016
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      Stipulation to Modify Special Condition of Release    -3-
